   Case 2:21-cm-03635-MHT-JTA Document 16 Filed 06/25/21 Page 1 of 4




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3634-MHT
APPROXIMATELY 400                 )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4295 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3635-MHT
APPROXIMATELY 1,000               )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4227 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )


IN THE MATTER OF THE              )
RESTRAINT OF:                     )         MISC. ACTION NO.
                                  )          2:21cm3636-MHT
APPROXIMATELY 1,000               )               (WO)
ROOSTERS, HENS, YOUNG             )
CHICKENS, AND UNHATCHED           )
CHICKENS LOCATED AT AND           )
AROUND 4046 COUNTY ROAD           )
528, VERBENA, ALABAMA,            )
36091                             )
   Case 2:21-cm-03635-MHT-JTA Document 16 Filed 06/25/21 Page 2 of 4




        OPINION AND ORDER EXTENDING RESTRAINING ORDER

    After      notice     to       the       interested      parties         and    a

hearing held today, and based upon the representations

made today and the evidence presented, the court finds,

pursuant to 21 U.S.C. § 853(e)(1)(B) that “there is a

substantial         probability      that      the    United         States    will

prevail on the issue of forfeiture and that failure to

enter    the   order     will      result       in    the    property         being

destroyed, removed from the jurisdiction of the court,

or otherwise made unavailable for forfeiture;” and that

“the need to preserve the availability of the property

through the entry of the requested order outweighs the

hardship on any party against whom the order is to be

entered.”      21    U.S.C.    §    853(e)(1)(B)(i)              &   (ii).         The

court     further        finds,          pursuant           to       18      U.S.C.

§ 983(j)(1)(B),          that        “there          is      a       substantial

probability that the United States will prevail on the

issue of forfeiture and that failure to enter the order

will result in the property being destroyed, removed


                                         2
   Case 2:21-cm-03635-MHT-JTA Document 16 Filed 06/25/21 Page 3 of 4




from the jurisdiction of the court, or otherwise made

unavailable for forfeiture;” that “the need to preserve

the availability of the property through the entry of

the requested order outweighs the hardship on any party

against whom the order is to be entered;” and that the

government        has   shown   “a    substantial      probability      of

prevailing on the issue of forfeiture and a similar

probability that failure to enter the order will result

in destruction, removal or other unavailability of the

property, which risk outweighs the hardship imposed on

any party.”        18 U.S.C. § 983(j)(1)(B)(i) & (ii).                 The

court further finds “probable cause to believe that the

property with respect to which the order is sought is

subject      to   civil   forfeiture      and    that   provision       of

notice will jeopardize the availability of the property

for forfeiture,”          18 U.S.C. § 983(j)(3), as well as

“probable     cause      to   believe    that    the    property    with

respect to which the order is sought would, in the

event   of    conviction,       be   subject    to   forfeiture    under


                                     3
   Case 2:21-cm-03635-MHT-JTA Document 16 Filed 06/25/21 Page 4 of 4




this     section        and    that    provision         of    notice    will

jeopardize        the     availability           of   the     property    for

forfeiture,” 21 U.S.C. § 853(e)(2).

       However,    the        court   will       limit   the    restraining

order, for now, to 49 days.                Should the government seek

an extension, it should file a motion for the same.



                                           ***

       Accordingly, it is ORDERED as follows:

       (1) The order extending temporary restraining order

for 90 days (Doc. 4) is rescinded.

       (2) The restraining order entered on June 11, 2021

(Doc. 2) is extended through August 13, 2021.

       DONE, this the 25th day of June, 2021.


                                         /s/ Myron H. Thompson
                                      UNITED STATES DISTRICT JUDGE




                                       4
